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                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

United States,                )           Cr. No. 06-00198 SOM
                              )
               Plaintiff,     )           ORDER GRANTING DEFENDANT’S
                              )           MOTION TO SUPPRESS ITEMS OF
          vs.                 )           EVIDENCE
                              )
Douglas Gilman, Jr.,    (02) )
                              )
               Defendant.     )
_____________________________ )

  ORDER GRANTING DEFENDANT’S MOTION TO SUPPRESS ITEMS OF EVIDENCE

I.          INTRODUCTION.

            Defendant Douglas Gilman, Jr. (“Gilman” or “Douglas

Gilman”), moves to suppress evidence seized by the Government

during a search of a shed on his residential property located at

67-423 Goodale Avenue, Waialua, Hawaii.           On June 21, 2005,

Federal Bureau of Investigation agents searched the shed pursuant

to a search warrant authorizing a search of Gilman’s “residence.”

The Government argues that the shed falls within the curtilage of

the residence and so was covered by the warrant.              Gilman argues

that the shed falls outside the curtilage.            Gilman also argues

that the shed, while not within the curtilage, was also not in an

open field, and that, given his legitimate expectation of privacy

in the shed, the agents violated his Fourth Amendment rights by

searching the shed without a warrant.          This court disagrees with

the Government and concludes that the shed is not part of the

curtilage and was not covered by the warrant.             The court also

rejects the Government’s reliance on the good faith exception to
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the exclusionary rule.      Because the shed was not covered by the

warrant, the court suppresses all evidence seized from the shed.

The court therefore grants Gilman’s motion.

II.         FINDINGS OF FACT.

            On April 18, 2007, this court conducted a hearing on

the present motion.      At the hearing, the court admitted

Government’s Exhibits 1 through 9.             The only live testimony was

by FBI Agent Jeff Rutherford (“Agent Rutherford”).                 Based on the

parties’ memoranda and exhibits, Rutherford’s live testimony, and

the warrants and application that this court takes judicial

notice of, the court finds the following by a preponderance of

the evidence:1

            1.    On June 15, 2005, M.D. McDonald (“Special Agent

McDonald”), an FBI Special Agent, submitted an application and

affidavit for warrants to search four residential properties.

See generally Application and Affidavit for Search Warrant

(“Warrant Application”).      In the affidavit, Special Agent

McDonald averred that Gilman’s father “is the leader of a

criminal organization largely controlled by members of the Gilman

family,” including Gilman and his two brothers, Charles Gilman

and William Gilman.      Id. at 24.         Special Agent McDonald also

stated:


            1
            Findings of fact and conclusions of law are presented
in numbered paragraphs for ease of reference in future
proceedings.

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             I believe that Douglas Gilman, Jr. provides
             assistance to the illegal gambling business.
             I believe that while Charles Gilman is the
             public figure who handles much of the illegal
             gambling business, Douglas Gilman, Jr.
             assists his father in a less public capacity
             in making decisions and controlling the
             intake and expenditure of money flowing
             through the illegal gambling business.

Id. at 26.        Regarding William Gilman, Special Agent McDonald

stated, “I believe that William Gilman stores at his residence

much of the equipment used for the chicken fights and gambling

activities.”        Id. at 26.

             2.      That same day, Magistrate Judge Kevin S.C. Chang

signed each of the four warrants.             Ex. 1 (attached to Opp.) at 1.

The warrant authorizing a search of Douglas Gilman’s residence

included “Attachment A,” which described the premises to be

searched as:

             67-423 Goodale Avenue, Waialua, Hawaii, the
             residence of Douglas Gilman, Jr. The
             location to be searched is a green, one-story
             residential structure with white trim. A
             photograph of the structure is attached
             hereto (the page containing the photograph is
             not numbered).

                  All motor vehicles located at the
             location at the time of the search.

Ex. 1 (attached to Opp.) at 2.           “Attachment B” listed the items

to be seized from Gilman’s residence, which included:                   “Indicia

of a chicken fighting operation including but not limited to the

following:        scales, schedules, bills for the rental of tents,

photographs of chicken fighting events, ‘pay-out’ sheets, knives,

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spurs, ‘gaffs’ or similar instruments.”               Ex. 1 (attached to Opp.)

at 4.

             3.     Unlike the warrant governing Douglas Gilman’s

property, the warrant authorizing a search of William Gilman’s

property expressly authorized the search of “sheds.”                  Warrant

Application at 54.        That warrant described the premises to be

searched as:

             66-320 Paalaa Road, Haleiwa, Hawaii, the
             residence of William Gilman. The site is a
             one-story, white residential structure with
             red trim and multiple car ports and at least
             one shed. Photographs of the structure are
             attached hereto (the pages containing the
             photographs are not numbered).

                  In addition to the residence itself, the
             search is to encompass all carports, sheds
             and tents adjacent to the house and all motor
             vehicles located on the property at the time
             of the search.

Warrant Application at 54 (emphasis added).

             4.      On June 21, 2005, FBI agents executed the search

warrant at Douglas Gilman’s property.              Motion at 1; Opp. at 3.

The agents searched Gilman’s home, and one of the agents directed

Gilman to open a locked shed.        Opp. at 3; Declaration of Douglas

Gilman, Jr. (12/26/2006) (“Gilman 12/26/2006 Decl’n”) ¶ 7.

According to Agent Jeff Rutherford, before unlocking the shed,

Gilman told the FBI agents that the shed was used to store tools.

After Gilman unlocked the shed, the agents entered it and

recovered:        (1) “Four Scales”; (2) a “Duffle Bag w/ Decks of


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Cards, Dice, Dice Cups”; and (3) a “Duffel Bag w/ Decks of

Cards.”     Motion at 2.

             5.   Gilman’s property is on Goodale Avenue.               Aerial

photographs of Gilman’s property show small suburban house lots

located to the east of Goodale Avenue.              Exs. C, D, E.      To the

west of Goodale Avenue, the plots of land are larger rural lots.

Id.   Gilman’s property is one of the larger lots on the west side

of Goodale Avenue.       Id.

             6.   A concrete driveway runs through Gilman’s property

beginning at the street and ending at Gilman’s home.                 Gilman

12/26/2006 Decl’n ¶ 5; Exs. C-E.            The shed sits on the east side

of the driveway near the entrance of the property.                 Gilman

12/26/2006 Decl’n ¶ 5; Exs. C-E.            Between the shed and the home,

the driveway forks, “with the [home] sitting in the middle of the

two legs of the roadway.”       Gilman 12/26/2006 Decl’n ¶ 5;

Exs. C-E.

             7.   At the hearing on this matter, the parties agreed

on the boundaries of Gilman’s property for purposes of the

present motion.     The parties agreed that the east side of

Gilman’s property is bordered by Goodale Avenue and that the west

side of the property is bordered by a dirt road that runs

parallel to Goodale Avenue.       See Ex. C.         The south side of

Gilman’s property is bordered by a dirt road directly south of

Gilman’s home that runs east and west.              See Ex. C.     The north


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side of Gilman’s property is bordered by a dirt road that begins

at Gilman’s driveway and curves south before connecting to the

dirt road to the west.       See Ex. C.

             8.     It is undisputed that the shed on Gilman’s

property is 130 feet from Gilman’s home, as measured between the

closest points between the two structures.               Gilman 12/26/2006

Decl’n ¶ 3.       It is also undisputed that the shed is “used to

store lawn and garden equipment and tools,” that the shed is

“kept closed and locked,” and that the shed was “closed and

locked” when the warrant was executed.              Id. ¶¶ 4, 7.     The parties

agree that the shed is visible to passers-by.                Id. ¶ 6; Opp.

at 12.

             9.     The shed is a single-story structure that is

painted green with white trim, as is Gilman’s home.                 Government’s

Exs. 2-3, 5-8.       The front of the shed has two large doors, and

two other doors are visible on the west side of the shed.

Government’s Exs. 5-8.       Gilman says that the two doors contain

toilets, but that he and his family “never use the toilets in the

shed.”     Id. ¶ 4; Declaration of Douglas Gilman, Jr. (2/2/2007)

¶ 4.     No windows are on the front of the shed, but windows are on

all other sides of the shed.       Government’s Exs. 5-8.            Agent

Rutherford testified that the windows are high enough off the

ground that a person who is just a little over five feet tall




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would be too short to see into the windows, although someone six

feet tall could peer in.

            10.   The numbers of Gilman’s street address, “67-423,”

are affixed to the front of the shed, which faces Goodale Avenue.

Government’s Exs. 5-6.       Electrical outlets and sensor lights, as

well as an electricity box and telephone box, are located on the

outside of the shed.      Government’s Exs. 5-8.             Agent Rutherford

testified that the presence of the electrical and telephone boxes

does not definitively indicate that the shed has power or phone

service, but that their presence indicates that the shed might

have power or phone service.

            11.   Immediately in front of and on the sides of the

shed are:    a trash can, a plastic chair, a folded beach chair, a

shovel, two hoses, several plants, and several pieces of wood.

Government’s Exs. 5-6.       Another trash can, several plants, and an

unknown tool are directly behind the shed.               Government’s Ex. 8.

III.        CONCLUSIONS OF LAW.

            A.    The Shed is Not Part of the Curtilage of
                  Gilman’s Home.

            1.    This case turns the usual curtilage analysis on

its head.    In the typical case in which curtilage is an issue,

the Government argues that evidence obtained through a search not

authorized by a warrant was admissible because the premises

searched, not being part of the curtilage of a residence, did not

require a warrant.       See, e.g., United States v. Dellas, 355 F.

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Supp. 2d 1095, 1101-02 (N.D. Cal. 2005) (“The government bears

the burden of proving that the search was not within the

curtilage of a defendant’s home.” (citing United States v.

Johnson, 256 F.3d 895, 901 (9th Cir. 2001) (en banc)))).                 In

other words, falling within the curtilage typically means

property is protected from a warrantless search, and evidence

from such a search is suppressed.            Here, the Government argues

that, because the shed was within the curtilage and therefore

covered by a warrant to search the residence, evidence recovered

from the shed is admissible.

            2.    The Government’s argument relies on the basic

premise that the Fourth Amendment’s protection against

warrantless searches extends to the curtilage around one’s home.

See Johnson, 256 F.3d at 901; see also United States v. Depew, 8

F.3d 1424, 1426 (9th Cir. 1993) (“Although the Fourth Amendment’s

protection is accorded only to ‘persons, houses, papers, and

effects’ and not to ‘open fields,’ the Fourth Amendment does

protect the ‘curtilage’ of a home.”), overruled on other grounds

by Johnson, 256 F.3d at 913 n.4.            “The curtilage inquiry requires

a court to determine whether an area ‘harbors those intimate

activities associated with domestic life and the privacies of the

home.’”    United States v. Traynor, 990 F.2d 1153, 1156 (9th Cir.

1993), overruled on other grounds by Johnson, 256 F.3d at 913

n.4.


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            3.    The Ninth Circuit recognizes that “the Fourth

Amendment is not violated by a search of the grounds or

outbuildings within a residence’s curtilage where a warrant

authorizes a search of the residence.”              United States v. Cannon,

264 F.3d 875, 880 (9th Cir. 2001); United States v. Gorman, 104

F.3d 272, 274 (9th Cir. 1996) (“If a search warrant specifying

only the residence permits the search of ‘closets, chests,

drawers, and containers’ therein where the object searched for

might be found, so should it permit the search of similar

receptacles located in the outdoor extension of the residence,

i.e., the curtilage . . . .       To hold otherwise would be an

exercise in pure form over substance.”).

            4.    “Every curtilage determination is distinctive and

stands or falls on its own unique set of facts.”                 Depew, 8 F.3d

at 1426.    In United States v. Dunn, 480 U.S. 294, 301 (1987), the

Supreme Court stated that questions of curtilage should be

            resolved with particular reference to four
            factors: the proximity of the area claimed
            to be curtilage to the home, whether the area
            is included in an enclosure surrounding the
            home, the nature of the uses to which the
            area is put, the steps taken by the resident
            to protect the area from observation by
            people passing by.

These factors “cannot be mechanically applied, but are merely

useful analytical tools to determine whether an area is to be

protected from unconstitutional searches and seizures.”                  Johnson,

256 F.3d at 901 (quoting Dunn, 480 U.S. at 301).

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              5.      The Government’s only argument against suppressing

 the evidence obtained from Gilman’s shed is that the shed falls

 within the curtilage of Gilman’s home and is therefore covered by

 the search warrant.

              The First Dunn Factor:           Proximity of the Shed to the
              Home

              6.      Gilman argues that the distance between his home

 and the shed is substantial and weighs in favor of finding that

 the shed falls outside the curtilage of his home.                 Motion at 4.

 The Government points out “the importance of considering whether

 the area in question is in a rural, urban, or suburban setting.”

 Opp. at 7.        According to the Government, because Gilman’s

 property is in “a rural setting,” the proximity of the shed to

 his home weighs in its favor.            Opp. at 7-9.       The court concludes

 that this factor creates no inference that the shed falls within

 the curtilage of Gilman’s home.

              7.      Generally, “there is not any fixed distance at

 which curtilage ends.”        Johnson, 256 F.3d at 902.           “It must be

 determined on a case-by-case basis.”              Id.   The Ninth Circuit

 recognizes that the size of a particular curtilage depends on

 whether the home is located in an urban, suburban, or rural area:

              The realities of rural country life dictate
              that distances between outbuildings will be
              greater than on urban or suburban properties
              and yet still encompass activities intimately




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            associated with the home; this is the nature
            of the “farmstead.”

 Johnson, 256 F.3d at 902.

            8.    In Dunn, 480 U.S. at 297, law enforcement

 officials made a warrantless entry onto the defendant’s rural

 ranch, which spanned approximately 198 acres.              After one of the

 officers smelled what he believed to be phenylacetic acid coming

 from the direction of two barns on the property, the officers

 peered into both barns.       Id. at 297-98.       The officers observed

 only empty boxes in the first barn, but observed a phenylacetone

 laboratory in the second barn, which was 60 yards from the

 defendant’s home.       Id. at 297-98, 302.      In addressing the

 “proximity of the [barn] to the home,” the Supreme Court stated

 that the distance of 60 yards between the barn and the home

 “supports no inference that the barn should be treated as an

 adjunct of the house.”       Id. at 301-02.

            9.    The shed on Gilman’s property is 130 feet from his

 home.   Gilman 12/26/06 Decl’n ¶ 3.          Although Gilman’s property is

 one of the larger lots on Goodale Avenue and appears to be a

 rural lot itself, it is not nearly as large as the 198-acre ranch

 at issue in Dunn.       However, the distance between Gilman’s shed

 and home is smaller than the distance between the barn and the

 residence in Dunn.       Therefore, even assuming that Gilman’s

 property is situated in a rural area, as in Dunn, the distance

 between the shed and Gilman’s home supports no inference that the

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 shed should be treated as part of the curtilage of Gilman’s home.

 See Dunn, 408 U.S. at 302; see also Johnson, 256 F.3d at 916

 (“our cases have generally regarded the area around a structure

 120 feet from the house to lie outside the curtilage” (internal

 citation omitted)) (Kozinski, J., concurring).

              The Second Dunn Factor:          Enclosure of the Home and Shed

              10.    With respect to the second Dunn factor, Gilman

 argues that the “shed is not included within an enclosure

 surrounding [his] residence.”           Motion at 4.       Gilman contends that

 his home is separated from the shed by his driveway, which he

 says “physically demarks the yard around [his] residence.”

 Motion at 5.       The Government responds that Gilman’s home and the

 shed are enclosed by a “natural ‘boundary’ or ‘mowing pattern’ of

 the ground upon which the residence and the shed are located.”

 Opp. at 9.     Because no fence or other enclosure surrounds

 Gilman’s home and/or shed, this factor creates no inference that

 the shed is part of the curtilage of Gilman’s home.

              11.    The second Dunn factor analyzes whether the

 searched area is included within an enclosure surrounding the

 home.   Johnson, 256 F.3d at 902.            “For most homes, the boundaries

 of the curtilage will be clearly marked; and the conception

 defining curtilage--as the area around the home to which the

 activity of home life extends--is a familiar one easily

 understood from our daily experience.”             Id.     “[F]encing


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 configurations are important factors in determining curtilage.”

 Id.   In rural areas, “natural boundaries such as thick trees or

 shrubberies may also indicate an area ‘to which the activity of

 home life extends.’”      Id. (noting that hedgerows and thick trees

 may create a sufficient enclosure to determine curtilage).               The

 proper focus of this factor is whether a fence or natural

 boundary “clearly demarcates the curtilage.”             Traynor, 990 F.2d

 at 1159.

              12.   In United States v. Shates, 915 F. Supp. 1483,

 1486 (N.D. Cal. 1995), law enforcement officers received a tip

 from a confidential informant that a methamphetamine lab was in

 operation on the defendant’s 160-acre ranch.             The officers

 entered the ranch without a warrant.          Id.   While on the property,

 the officers “smelled the odor of growing marijuana,” “heard the

 sound of a generator,” and “heard the sounds of ballasts and

 fans.”     Id. at 1496-97.   Based on the informant’s tip and the

 officers’ observations, the officers obtained a warrant to search

 the defendant’s property.      Id.     Upon executing the warrant, the

 officers seized 1,433 marijuana plants from a “grow structure”

 located about 105 feet from the defendant’s trailer residence.

 Id. at 1487, 1490, 1499.

              13.   The defendant moved to suppress all evidence

 obtained during the execution of the search warrant on the ground

 that the warrant was invalid because it was based on observations


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 that violated the Fourth Amendment.          Id. at 1485.     The district

 court adopted the magistrate judge’s findings and recommendations

 and denied the motion to suppress.          Id.   As to the second Dunn

 factor, the court stated:

            Looking at the pictures, the grow structure
            could be considered “enclosed” on the
            southerly side by [another structure on the
            property]; “enclosed” on the western side by
            the ingress and egress route to and from the
            trailer; “enclosed” by the generator shed on
            the northerly side; “enclosed” by the trees
            on the north and west. But, this overly-
            broad interpretation should not be applied,
            since the enclosure usually has to be an
            objective manifestation of an intent to keep
            something private (like a fence).

 Id. at 1501.     The court also noted that, although a forest

 bordered the northern side of the property, the forest was “not

 impenetrable . . . nor does it share any similarities with a

 fence designed to enclose a home.”          Id. at 1488.     The court

 stated that the trees “are more akin to a mow line than to a

 fence.”   Id.    “In a curtilage analysis, a fence may weigh more

 heavily in favor of a finding of curtilage, whereas a mow line

 weighs far less heavily.”      Id.

            14.   No fences surround Gilman’s home or shed.

 Further, although the driveway connects the shed to Gilman’s

 home, neither the shed nor the home is enclosed by the driveway.

 Thus, unlike a fence that might surround a home and its

 curtilage, the driveway is not determinative of “whether the



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 [shed] is included within an enclosure surrounding the home.”

 See Johnson, 256 F.3d at 902.

            15.    Similarly unpersuasive is the Government’s

 argument that an alleged “natural boundary” of “large trees and

 other vegetation” encloses the home and shed.             Exhibit C, which

 is an aerial photograph of Gilman’s property, shows that the

 property contains several large trees scattered along the

 driveway and behind Gilman’s home.          See Ex. C; see also Ex. A.

 Exhibit A also shows overgrown vegetation behind the home.

 Ex. A.   However, these trees and vegetation do not appear to

 enclose the shed and/or home at all.

            16.    The Government also argues that the home and shed

 are enclosed by a “mowing pattern of the ground upon which the

 residence and the shed are located.”          In other words, the

 Government contends that the home and shed are enclosed by a

 manicured lawn.     This “mowing pattern” is evident in Exhibit A,

 which shows a stark contrast between the green grass near the

 home and shed and the dead grass in the foreground.              If the dead

 grass were part of Gilman’s property, the Government’s argument

 that the “mowing pattern” encloses the curtilage might have

 merit.   However, at the hearing on this matter, the Government

 conceded that Gilman’s property excludes the dead grass shown in

 the foreground of Exhibit A.      Thus, it appears that the “mowing

 pattern” of manicured grass covers Gilman’s entire property and


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 does not “clearly demarcate[] the curtilage.”              See Traynor, 990

 F.2d at 1159.

            17.   The driveway, trees, vegetation, and “mowing

 pattern” are “not impenetrable” and do not “share any

 similarities with a fence designed to enclose the home.”                See

 Shates, 915 F. Supp. at 1488.          Because the home and shed are not

 enclosed by a fence or natural boundary, this factor creates no

 inference that the shed is part of the curtilage of Gilman’s

 home.

            The Third Dunn Factor:           The Nature of the Shed’s Uses

            18.   Gilman argues that, because he “uses the shed

 primarily for storing lawn and garden equipment and tools,” the

 third Dunn factor weighs in favor of finding that the shed falls

 outside the curtilage of his home.            Motion at 6-7.    The

 Government argues that the shed falls within the curtilage of

 Gilman’s home because the shed has sensor lights and electrical

 outlets on the outside of the shed, has two toilets in the shed,

 has the numbers of Gilman’s street address affixed to its front,

 and is “painted in the same green color with white trim” as

 Gilman’s home.    Opp. at 10.    Because the officers had no

 objective information indicating that Gilman used the shed for

 illegal activities before they entered the shed, this factor

 weighs in favor of finding that the warrant did not cover the

 shed.


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            19.    In United States v. Santa Maria, 15 F.3d 879,

 880(9th Cir. 1994), Border patrol agents, who were “looking for

 aliens and drugs along a trail well traveled with both,” followed

 a fresh set of tracks to the defendant’s property.              The agents

 saw a mobile home and a nearby trailer on the defendant’s

 property and, without a warrant, followed the tracks to the

 trailer.    Id.   The agents asked the defendant to open the

 trailer, where they found 357 pounds of marijuana.              Id. at

 880-81.    The defendant moved to suppress all evidence obtained by

 the agents, but the district court denied the motion.               Id.   On

 appeal, the Ninth Circuit concluded that the trailer, which was

 “a locked unit which housed tools, a chainsaw, and an aquarium in

 addition to burlap sacks of marijuana,” fell outside the

 curtilage of the defendant’s nearby home.            Id. at 883; see also

 Johnson, 256 F.3d at 918 (“a shed is not generally known for

 housing the intimate activities of domestic life”) (Kozinski, J.,

 concurring).

            20.    It is well settled in the Ninth Circuit that

 officers lacking objective information about the contents of an

 outbuilding may not enter it.          For example, in Johnson, 256 F.3d

 at 898, law enforcement officers “broke into [the defendant’s]

 fenced and locked residential yard on his rural Washington

 property without a warrant” in an attempt “to apprehend another

 person who was a misdemeanor suspect last seen 30 minutes


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 previously and whose whereabouts were unknown.”                  While on the

 defendant’s property, the officers followed a trail to a locked

 shed.   Id. at 900.      When the officers were within a few feet of

 the shed’s door, one of the officers “smelled what he knew from

 training was marijuana.”       Id.      The officers eventually left the

 property and, based on their observations, obtained a warrant to

 search the defendant’s property for drugs.                 Id.   Upon execution

 of the warrant, the officers recovered 553 marijuana plants.                    Id.

 The defendant moved to suppress the evidence seized during the

 search, and the district court denied the motion.                  Id.

            21.   On appeal, the Ninth Circuit was faced with

 determining whether the shed was a part of the curtilage of the

 defendant’s home.       Id. at 903.      With respect to the third Dunn

 factor, the court stated, “Dunn requires that when determining

 the ‘use’ of an area, the officers cannot rely, as was done in

 this case, exclusively on information they learn after the search

 begins.”   Id.   The court recalled that, in Dunn, “although the

 Supreme Court relied on information obtained both before (aerial

 photographs) and after (smell of phenylacetic acid) the search

 began, it emphasized that it found ‘especially significant’ the

 fact that the law enforcement officials possessed ‘objective

 data’ that the barn in question was used to manufacture drugs

 before entering the property.”           Id. (quoting Dunn, 480 U.S. at

 302).   Thus, in Johnson, the Ninth Circuit found it significant


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 that the police officers “possessed no objective data that the

 [shed] was not used for intimate activities associated with the

 home” before beginning their search.          Id.; see also Traynor, 990

 F.2d at 1158 (“It is especially significant that the law

 enforcement officials possessed objective data indicating that

 the barn was not being used for intimate activities of the

 home.”); United States v. Van Damme, 48 F.3d 461, 464 (9th Cir.

 1995) (“The greenhouse compound lacked any ‘indicia of activities

 commonly associated with domestic life.”).               The Ninth Circuit

 also noted, “We have never held that an officer lacking any prior

 objective knowledge of the use of an outbuilding may approach it

 free of Fourth Amendment constraints.”          Johnson, 256 F.3d at 903.

            22.   Similarly, in Depew, 8 F.3d at 1425, law

 enforcement officials were investigating the production and sale

 of marijuana by Martin Levine (“Levine”).             One of the officers

 received a tip that a person nicknamed “Pepe” had assisted Levine

 in establishing his growing operation.          Id.       The officers

 discovered that the defendant used the alias “Pepe” and had

 previously been convicted of manufacturing marijuana.                Id.

 Without obtaining a warrant, one of the officers went to the

 defendant’s residence and met with the defendant “outside the

 garage in the driveway approximately six feet from the garage

 door and 50-60 feet from the house.”          Id.     From this vantage

 point, the officer detected the odor of growing marijuana


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 emanating from the house.           Id. at 1426.     The officers thereafter

 obtained a search warrant based on the informant’s tip regarding

 “Pepe” and the officer’s belief that he smelled marijuana at the

 defendant’s residence.        Id.     Upon executing the warrant, the

 officers seized unregistered firearms and more than 1,000

 marijuana plants.       Id.   The defendant moved to suppress the

 evidence found in his house on the ground that the original,

 warrantless observations by the officer who visited his property

 violated the Fourth Amendment.            Id.   The district court denied

 the motion to suppress, concluding that the area in which the

 officer smelled marijuana was outside the curtilage of the

 defendant’s home.       Id. at 1427.

            23.   On appeal, the Ninth Circuit reversed, noting that

 the district court “failed to accord sufficient weight to . . .

 [the officer’s] lack of objective data indicating that [the

 defendant’s] garage or driveway was not used for intimate

 activities of the house.”           Id.   On this point, the Ninth Circuit

 found it significant that the officer “had no objective data

 indicating that [the defendant] used his garage or adjacent

 driveway area for illegal activity rather than for those

 activities associated with the privacies of domestic life.”                  Id.

 (emphasis in original).        The court also noted that the “tip from

 an informant that ‘Pepe’ aided Levine in launching his marijuana

 operation is not sufficient, standing alone, to imply that [the


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 defendant] was engaging in illegal activity at his home.”                 Id. at

 1428.

            24.   Before the FBI agents began searching Gilman’s

 property, they had no objective information about the shed.                    On

 this ground alone, this factor weighs in favor of finding that

 the shed falls outside the curtilage of the home.               See Johnson,

 256 F.3d at 903 (“Dunn requires that when determining the ‘use’

 of an area, the officers cannot rely, as was done in this case,

 exclusively on information they learn after the search begins.”).

            25.   However, even if the court considers the

 information the agents learned before entering the shed, this

 factor still weighs in favor of finding that the shed is not part

 of the curtilage.       After the search of Gilman’s property began

 but before the agents entered the shed, Gilman told them that the

 shed was used to store his tools.            At that time, sensor lights,

 electrical outlets, an electrical box, and a telephone box were

 all visible to agents on the outside of the shed, indicating that

 the shed may have had electricity and a working telephone.                 A

 trash can, a chair, two hoses, and several plants were also

 directly outside of the shed.           See Government’s Exhibit 5.        The

 agents could see that the shed had high windows, that the

 “numbers ‘67-423’ were affixed to the front of the shed,” and

 that “the residence and the shed were painted in the same green

 color with white trim.”       Opp. at 10.       Even this information is


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 insufficient for the officers to know whether the shed was

 “associated with the activities and privacies of domestic life.”

 Cf. Dunn, 480 U.S. at 303.       Storing tools in the shed does not

 convert the shed into curtilage of the home.              See, e.g., Santa

 Maria, 15 F.3d at 883.       Further, the observable

 circumstances--i.e., the chair and plants outside the shed and

 the shed’s high windows, sensor lights, and electrical outlets

 and possible electricity and telephone--indicate that the shed

 may have been used for domestic activities.               See Dunn, 480 U.S.

 at 303.     The officers simply had no objective data indicating

 that Gilman used the shed “for illegal activity rather than for

 those activities associated with the privacies of domestic life.”

 Depew, 8 F.3d at 1427; see also Johnson, 256 F.3d at 903;

 Traynor, 990 F.2d at 1158.       This factor therefore weighs in favor

 of finding that the shed is not part of the curtilage of Gilman’s

 home.     See Johnson, 256 F.3d at 903.

              The Fourth Dunn Factor:         Steps To Prevent Observation

              26.    With respect to the fourth Dunn factor, Gilman

 argues that he “did little to protect the shed area from

 observation by those standing outside of his property.”                Motion

 at 7.     He says the shed is completely visible from all sides of

 his property and that no fence or vegetation obstructs the shed.

 Motion at 7.       The Government contends that Gilman “took steps to

 prevent observation of the activity/contents of the shed,” but


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 that “[a]nyone passing by [his property] would see [his]

 residence and the shed.”      Opp. at 12.      Because Gilman did not

 take any steps to prevent observation of the shed from passers-

 by, this factor weighs in favor of finding that the shed is not

 part of the curtilage of Gilman’s home.

            27.    The fourth Dunn factor “focuses on the steps taken

 by [the defendant] to prevent observation of the area from

 passers-by.”     Johnson, 256 F.3d at 903.        Where fences are alleged

 to protect an area from passers-by, courts focus on the purpose

 of the fence and whether it actually obstructs viewing the area.

 See, e.g., Dunn, 480 U.S. at 303 (“Respondent did little to

 protect the barn area from observation by those standing in the

 open fields.     Nothing in the record suggests that the various

 interior fences on the respondent’s property had any function

 other than that of the typical ranch fence; the fences were

 designed and constructed to corral livestock, not to prevent

 persons from observing what lay inside the enclosed areas.”);

 Johnson, 256 F.3d at 918 (“His fences restricted access but they

 did not block visibility.      While the locked shed may have

 sheltered the marijuana garden inside, there was nothing to stop

 the officers from observing the area outside the shed.”)

 (Kozinski, J., concurring).

            28.    The photographs of Gilman’s property show that the

 shed is visible from areas off of the property.             Exs. B-E; see


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 Shates, 915 F. Supp. 1483 (noting that the court focuses on

 “visibility from points off of the property”).             According to

 Gilman, “Nothing protects the shed area from observation by those

 standing outside of the property; there is no fence or any

 natural obstruction.      The shed is visible from all sides of the

 property.”     Gilman 12/26/2006 Decl’n ¶ 6.        The Government also

 concedes that “[a]nyone passing by [Gilman’s property] would see

 [his] residence and shed.”      Opp. at 12.       Because the evidence

 before the court indicates that Gilman took no steps to prevent

 observations of the shed from passers-by, this factor weighs in

 favor of finding that the shed is not part of the curtilage of

 Gilman’s home.

              Analysis of All Four Dunn Factors

              29.   The four Dunn factors “are useful analytical tools

 only to the degree that, in any given case, they bear upon the

 centrally relevant consideration--whether the area in question is

 so intimately tied to the home itself that it should be placed

 under the home’s ‘umbrella’ of Fourth Amendment protection.”

 Dunn, 480 U.S. at 1140.      In the present case, the substantial

 distance between the shed and the home, the absence of any

 enclosure surrounding the home and/or shed, the lack of objective

 data by the agents regarding whether the shed was used for

 illegal activities, and Gilman’s failure to protect the shed from

 observation indicate that the shed is not so intimately tied to


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 Gilman’s home that it should be placed under the home’s umbrella

 of protection.      See id.   Therefore, contrary to the Government’s

 position, the shed does not fall within the curtilage of Gilman’s

 home and was not covered by the warrant.           Because the court

 rejects the Government’s only argument2 against suppressing the

 evidence and because the Government takes no other position

 against suppression, the court suppresses all evidence seized

 from the shed.

            B.      The “Good Faith” Exception.

            30.     At the hearing on the present motion, the

 Government mentioned for the first time that it relies on the

 “good faith” exception to the exclusionary rule.

            31.    In United States v. Leon, 468 U.S. 897, 922

 (1984), the Supreme Court held that evidence obtained pursuant to

 a facially valid search warrant that is later found to be invalid

 is admissible if the executing officers acted in good faith and

 in objectively reasonable reliance on the warrant.             United States

 v. Hove, 848 F.2d 137, 139 (9th Cir. 1988) (citing Leon, 468 U.S.

 at 922); see also United States v. Luong, 470 F.3d 898, 902 (9th

 Cir. 2006).      “The Leon test for good faith is clearly an

 objective one.”      Hove, 848 F.2d at 140; see also Luong, 470 F.3d



            2
             As discussed in the next section, the Government did
 mention the “good faith” exception to the exclusionary rule at
 the hearing on this matter, but provided no argument or evidence
 in support of the exception’s application to this case.

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 at 902.   Courts ask “not what the executing officer believed, or

 could have believed, but ‘whether a reasonably well trained

 officer would have known that the search was illegal.’”                 Luong,

 470 F.3d at 902.        The Government bears the burden of proving that

 the officer’s reliance on the warrant was objectively reasonable.

 United States v. Kow, 58 F.3d 423, 428 (9th Cir. 1995).

            32.   Initially, the court notes that the Government did

 not address the exception in its opposition memorandum, and at

 the hearing, the Government presented no argument or evidence in

 support of its assertion that the exception applies in this case.

 The Government did not, for example, have Agent Rutherford

 address this issue while he was on the stand.                Without any

 argument or evidence on this point, the Government fails to meet

 its burden of establishing that the agents’ actions were

 objectively reasonable.        See Kow, 58 F.3d at 428.

            33.   Moreover, even if the Government could be said to

 have fairly raised this argument, neither applicable law nor the

 record would support a determination that the exception applies.

 This court recognizes, of course, that in Gorman, 104 F.3d at

 275-76, a case originating in this district before a different

 district judge, the Ninth Circuit relied on the good faith

 exception as an alternative ground for reversing the district

 court’s order of suppression.            In that case, Honolulu police

 officers obtained a warrant to search a bus that the defendant


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 was living in.    The officers were looking for marijuana and other

 drugs.   When the warrant was executed, one of the officers

 “noticed a large plastic translucent jar partly buried beside

 some lawn chairs outside the bus-residence.”              Id. at 274.    The

 officer picked up and opened the jar, finding “bullets, blasting

 caps, and a loaded .32 caliber revolver” in it.              Id.   As a result

 of the discovery, the defendant was charged with being a felon in

 possession of a firearm.      Id.      The defendant moved to suppress

 the gun, and the district court granted the motion on the ground

 that, although “the jar and gun were within the bus-residence’s

 curtilage, the warrant on its face authorized a search of only

 the bus, not the bus’s curtilage.”          Id.

            34.   On appeal, the Ninth Circuit reversed, holding

 that the curtilage was covered by the warrant authorizing a

 search of a residence and that the jar could therefore be

 searched under the warrant.         Id. at 275.     Alternatively, the

 court relied on the good faith exception:

            Finally, even if we were to decide that the
            curtilage was not included within the scope
            of the warrant, we would not apply the
            exclusionary rule here. The exclusionary
            rule is designed to deter police misconduct;
            it should not be applied to deter
            “objectively reasonable law enforcement
            activity.” Leon, 468 U.S. at 919, 104 S. Ct.
            at 3418. Here it would be objectively
            reasonable for law enforcement officials to
            believe that the curtilage search was
            authorized by the warrant. Every published
            opinion addressing the issue has concluded
            that a warrant authorizing the search of a

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              residence automatically authorizes a search
              of the residence’s curtilage. Accordingly,
              even if we had decided that the curtilage was
              not part and parcel of the home, we would not
              exclude the gun. See United States v.
              Dahlman, 13 F.3d 1391, 1397 (10th Cir. 1993)
              (although warrant was overbroad, evidence
              would not be excluded because officer’s
              interpretation was consistent with precedent
              from other circuits) cert. denied, 511 U.S.
              1045, 114 S. Ct. 1575, 128 L. Ed. 2d 218.

 Id. at 275-76 (some internal citations omitted).

              35.   Gorman is distinguishable from the present case.

 First, Gilman’s shed falls outside the curtilage, whereas the jar

 in Gorman “was inseparable for privacy purposes from the bus-

 residence identified in the warrant.”          Gorman, 104 F.3d at 275.

 Thus, it was not objectively reasonable for agents to believe

 that the shed was covered by the warrant.           Second, the issue in

 Gorman that the officers could have relied on is not the issue

 here.   In Gorman, the district judge was examining whether the

 warrant covered the curtilage, a matter on which the officers

 could look to pre-existing law.         Here, the parties agree that the

 warrant covered the curtilage but dispute what falls within the

 curtilage.     Pre-existing law makes it clear that determining what

 the curtilage is in any particular case involves a case-by-case

 analysis.     Dunn, 480 U.S. at 301; Depew, 8 F.3d at 1426.            Given

 the fact-based nature of any curtilage determination, an

 objectively reasonable officer would not have assumed the shed

 was automatically within the curtilage of the house.


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            36.    Indeed, an objectively reasonable officer would

 have been concerned about whether the warrant covered Gilman’s

 shed.    As mentioned above, Special Agent McDonald’s application

 and affidavit for the present search warrant also sought a

 warrant to search William Gilman’s residential property.

 Regarding William Gilman, Special Agent McDonald stated, “I

 believe that William Gilman stores at his residence much of the

 equipment used for the chicken fights and gambling activities,

 including but not limited to tents, lights, tables and other

 furniture.”      Warrant Application at 26.       Special Agent McDonald

 also averred that “the probable cause to believe that William

 Gilman is in possession of the equipment used at the chicken

 fights is based in part on surveillance conducted on June 14,

 2005.”    Warrant Application at 26-27.        Additionally, a

 confidential informant told the FBI that “[m]uch of the equipment

 used at the Waialua chicken fight and gambling arena is stored at

 the residence of William Gilman, including tents, lights,

 furniture, and flooring for the arena.”           Warrant Application

 at 43.    Because individuals involved in illegal gambling

 operations often store evidence in “vehicles, residences and

 businesses,” as well as in “other structures and areas on the

 property . . . , for example, outbuildings, garages, sheds, yard

 areas, trash containers, storage areas, inoperable vehicles, and

 containers,” the warrant to search William Gilman’s residence


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 expressly authorized a search of “all carports, sheds and tents

 adjacent to the house.”      Warrant Application at 6-8, 54.

            37.   Although the same application and affidavit

 supported the warrant to search Gilman’s property, Special Agent

 McDonald did not state any belief that any “[e]quipment used for

 the chicken fights and gambling business” might be stored at

 Gilman’s property.      Additionally, unlike the warrant to search

 William Gilman’s property, the warrant to search Gilman’s

 residence did not expressly authorize the search of any “sheds”

 on Gilman’s property.      See Warrant Application at 54.

            38.   Clearly, the warrant to search William Gilman’s

 property was supported by probable cause that gambling equipment

 would be stored there, and the warrant authorized a search of

 “sheds.”   The warrant to search Douglas Gilman’s property was not

 supported by any probable cause regarding any shed, and the

 warrant did not authorize a search of any shed.             Based on the

 application supporting the two warrants and on the differing

 language of the warrants, a reasonable officer executing the

 warrants would have believed that a shed on William Gilman’s

 property was covered by the warrant, but that any shed on

 Gilman’s property was not covered by the warrant.             Accordingly,

 even if the court considered the Government’s Leon argument, the

 court would conclude that the good faith exception does not apply

 in this case.


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             C.    Gilman’s Alternative Argument.

             39.   In addition to arguing that the shed falls outside

 the curtilage of his home, Gilman argues that even an area

 outside the curtilage is protected by the Fourth Amendment if one

 has a legitimate expectation of privacy in the area.              Motion at

 8.   The Government does not address this argument at all,

 apparently agreeing with it and relying only on its curtilage

 analysis.

             40.   At first glance, Gilman’s argument appears to cut

 against Ninth Circuit law suggesting that areas or outbuildings

 falling outside the curtilage of a home are automatically

 unprotected by the Fourth Amendment.          United States v. Soliz, 129

 F.3d 499, 503 (9th Cir. 1997) (“The district court did not

 clearly err in finding that the parking area was not curtilage.

 Thus, there was no Fourth Amendment violation.”), overruled on

 other grounds by Johnson, 256 F.3d at 913 n.4; Van Damme, 48 F.3d

 at 465 (“In this case, the observation was made from . . .

 outside the curtilage, so . . .         the Fourth Amendment did not

 entitle [the defendant] to privacy from the observation.”);

 United States v. Brady, 993 F.2d 177, 179 (9th Cir. 1992)

 (“Because the district court did not clearly err in finding that

 the outbuilding is not within the curtilage, we affirm the

 district court’s determination that no Fourth Amendment violation

 occurred.”), overruled on other grounds by Johnson, 256 F.3d at


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 913 n.4; Traynor, 990 F.2d at 1159 (noting that, because the shop

 was part of the curtilage of the defendant’s home, “there was no

 Fourth Amendment violation”); cf. Madruga v. County of Riverside,

 431 F. Supp. 2d 1049, 1056 (C.D. Cal. 2005) (The initial question

 becomes whether the courtyard to the Madrugas’ home was part of

 the home’s curtilage.      If not, then Deputy Smith’s entry upon it

 does not run afoul of the Fourth Amendment.”).

            41.   These cases are based on the premise that an area

 that is not part of the curtilage of a home must be an open field

 and therefore not protected by the Fourth Amendment.              Accord

 United States v. McIver, 186 F.3d 1119, 1126 (9th Cir. 1999)

 (“only the curtilage, not the neighboring open fields, warrants

 the Fourth Amendment protections that attach to the home”

 (quoting Oliver v. United States, 466 U.S. 170, 180 (1984))); cf.

 United States v. Davis, No. CR 04-300064-AA, 2006 WL 1491449, at

 *4 (D. Or. May 24, 2006) (“While the Fourth Amendment recognizes

 a legitimate expectation of privacy in the home, the zone of

 protection does not extend to ‘open fields’ beyond the boundary

 of the home’s curtilage.”); Dellas, 355 F. Supp. 2d at 1101

 (“What lies beyond the boundary of the curtilage are ‘open fields

 that government agents may enter without regard to the

 constraints imposed by the Fourth Amendment.”).

            42.   To further complicate the issue, it is not clear

 what qualifies as an open field.            If a structure, for example,


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 can be an open field, it may be that the structure must not

 appear too solid.       Compare United States v. Broadhurst, 805 F.2d

 849, 855 n.9 (9th Cir. 1986) (suggesting that structures cannot

 be “open fields”) with Van Damme, 48 F.3d at 464-65 (suggesting

 that a greenhouse falling outside the curtilage was an “open

 field”).

               43.   In parsing the law of open fields, this court

 finds support for Gilman’s position in Ninth Circuit case law

 that suggests that areas beyond the curtilage of a home are not

 necessarily open fields, but may instead be part of a third

 category.      For example, in Santa Maria, 15 F.3d at 880, border

 patrol agents looking for aliens and drugs near the Mexican

 border followed fresh tracks to the defendant’s property.                 The

 agents went onto the defendant’s property without a warrant and

 followed the tracks to a trailer near the defendant’s mobile

 home.   Id.     The agents informed the defendant that they were

 searching for drugs, and the defendant unlocked the trailer for

 them.   Id.     In the trailer, the agents found burlap bags

 containing 357 pounds of marijuana.          Id. at 880-81.       After

 arresting the defendant, the agents searched his mobile home,

 where they found more burlap bags and rope used for carrying

 bundles of marijuana.       Id. at 881.

               44.   The defendant in Santa Maria moved to suppress the

 evidence found in his trailer and mobile home, and the district


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 court denied the motion.        Id.    On appeal, the Ninth Circuit

 described the trailer as “a locked unit which housed tools, a

 chainsaw, and an aquarium in addition to burlap sacks of

 marijuana” and stated that it was “outside the curtilage.”                Id.

 at 883 n.2.      The court stated, however, that a “structure need

 not be within the curtilage in order to have Fourth Amendment

 protection.”      Id. at 882.    The court also noted that “we have no

 trouble concluding that the trailer is not an ‘open field.’”                Id.

 at 883 (internal footnote omitted).          Because the Ninth Circuit

 concluded that there was “no statutory basis for the search” and

 that the defendant did not consent to the search, the court held

 that “the search violated the Fourth Amendment” and suppressed

 all evidence seized from the trailer and the mobile home.                Id. at

 883.   In other words, the court concluded that the trailer was

 neither part of the curtilage nor an open field, but nevertheless

 suppressed the evidence.

            45.     Drawing on Santa Maria, the Ninth Circuit, in Van

 Damme, 48 F.3d at 465, stated:

            it is well established that Fourth Amendment
            protection applies to enclosed places which
            are not “persons, houses, papers, and
            effects,” such as . . . a trailer outside the
            curtilage used as a storage shed, United
            States v. Santa Maria, 15 F.3d 879 (9th Cir.
            1994).

 In Broadhurst, 805 F.2d at 855 n.7, the Ninth Circuit also

 similarly noted:




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             It is clear . . . that a structure need not
             be within the curtilage in order to have
             Fourth Amendment protection. Indeed, so long
             as a person may claim a legitimate
             expectation of privacy in a structure or
             item, Fourth Amendment protection extends to
             that structure or item.

 Under these cases, Gilman’s shed is protected by the Fourth

 Amendment, and suppression is warranted “so long as [he] may

 claim a legitimate expectation of privacy in” the shed.              See id.

             46.   The Government conceded at the hearing that Gilman

 has a legitimate expectation of privacy in his shed.              As the

 Government has not argued that the shed is an “open field,”

 suppression of evidence seized from the shed is appropriate under

 Santa Maria, Van Damme, and Broadhurst.

 IV.         CONCLUSION.

             In light of the foregoing, the motion to suppress is

 granted.


                         IT IS SO ORDERED.

                         DATED:   Honolulu, Hawaii, May 2, 2007.




                                     _____________________________
                                     Susan Oki Mollway
                                     United States District Judge



 United States v. Douglas Gilman, Jr., et al., Cr. No. 06-00198 SOM; ORDER
 GRANTING DEFENDANT’S MOTION TO SUPPRESS ITEMS OF EVIDENCE.




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